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       Commercial Workers Local 324
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10
                        IN THE UNITED STATES DISTRICT COURT
11
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
13     CALIFORNIA GROCERS                        Case No. 21-cv-00524-ODW-AS
14     ASSOCIATION, a California non-
       profit organization,                     INTERVENOR UNITED FOOD &
15                                              COMMERCIAL WORKERS LOCAL
16               Plaintiff,                     324’s MOTION TO DISMISS

17     v.                                       [Fed. R. Civ. P. 12(b)(6)]

18                                              Judge: Hon. Otis D. Wright II
       THE CITY OF LONG BEACH, a
19     charter municipality,                    Date: March 22, 2021
20               Defendants,                    Time: 1:30 PM
21                                              Location: Courtroom 5D
22
23     UNITED FOOD & COMMERCIAL
24     WORKERS LOCAL 324
25               Intervenor.
26
27
28


                                     MOTION TO DISMISS
                                 Case No. 21-cv-00524-ODW-AS
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1                                       MOTION TO DISMISS
2            TO ALL PARTIES AND ATTORNEYS OF RECORD:
3            PLEASE TAKE NOTICE THAT on March 22, 2021, at 1:30 p.m., or as soon
4      thereafter as the Court may schedule hearing, United Food & Commercial Workers
5      Local 324 (the “Union”) will and hereby does move the Court to dismiss the
6      Complaint in this action pursuant to Federal Rule of Civil Procedure 12(b)(6). Plaintiff
7      California Grocers Association’s Complaint fails to state a claim for relief because (1)
8      the City of Long Beach’s “Premium Pay for Grocery Store Workers Ordinance” (the
9      “Ordinance”) is not preempted under the Machinists doctrine of federal labor-law
10     preemption because it does not regulate the process of collective bargaining; (2) the
11     Ordinance does not violate the Contracts Clauses of the U.S. or California
12     Constitutions because it does not substantially impair any of CGA members’
13     employment contracts or collective bargaining agreements, and is, in any case,
14     reasonably based; and (3) the Ordinance does not violate the U.S. or California Equal
15     Protection Clauses because it does not implicate any fundamental right and readily
16     passes rational-basis review.
17           This motion is made following the conference of counsel pursuant to L.R. 7-3
18     which took place on January 29, 2021.
19           This motion is based on the accompanying Memorandum of Points and
20     Authorities, on the full records in this matter, and on such further briefing and
21     argument as the Court may allow.
22
23     Dated: February 17, 2021                                    /s/Paul L. More
24                                                                 Paul L. More

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                                                    1
                                           MOTION TO DISMISS
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                        IN THE UNITED STATES DISTRICT COURT
11
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
13     CALIFORNIA GROCERS                            Case No. 21-cv-00524
14     ASSOCIATION, a California non-
       profit organization,                     INTERVENOR UNITED FOOD &
15                                              COMMERCIAL WORKERS
16               Plaintiff,                     LOCAL 324’s MEMORANDUM OF
                                                POINTS AND AUTHORITIES IN
17     v.                                       SUPPORT OF MOTION TO
18                                              DISMISS
       THE CITY OF LONG BEACH, a
19     charter municipality,                    Judge: Hon. Otis D. Wright II
20               Defendants.                    Date: March 22, 2021
21                                              Time: 1:30 PM
22                                              Location: Courtroom 5D
23
24                                              [Fed. R. Civ. P. 12(b)(6)]
25     UNITED FOOD & COMMERCIAL
26     WORKERS LOCAL 324
27               Intervenor.
28


                      MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
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20     Molly Kinder, Laura Stateler, and Julia Du, “Windfall profits and deadly
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22       (NOVEMBER 2020) .....................................................................................................3
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24       They blame hazard pay ordinance,” LA TIMES (Feb. 1, 2021) (Feb. 1,
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1                                      INTRODUCTION
2          California deems grocery store workers to be “essential” because of the critical
3    role they play in the State’s food system during the COVID-19 pandemic. These
4    workers face significant risks on the job, and for a time during the pandemic’s early
5    phases, many grocery companies provided them with “hero” or “hazard” pay to
6    acknowledge these risks. Many of those same companies have seen significant
7    increases in revenues and profits during the pandemic, as restaurants and other retail
8    food sources have closed. Yet most companies phased out the additional compensation
9    that they paid their frontline workers last year, even as COVID-19 cases surged in
10   Southern California. In response, the City of Long Beach passed the “Premium Pay
11   for Grocery Store Workers Ordinance” (“Ordinance”). The Ordinance mandates that
12   large grocery stores in the City pay their non-supervisory workers an additional four
13   dollars per hour to compensate them for working in close proximity to the public,
14   many of whom may be carrying a contagious and often deadly virus.
15         The California Grocers Association (“CGA”) asks the Court to strike down the
16   Ordinance for reasons that the Supreme Court and Ninth Circuit have rejected for
17   decades. First, the CGA claims that the Ordinance is preempted under the Machinists
18   doctrine of federal labor preemption because it purportedly interferes with grocery
19   companies’ union negotiations. But federal labor law does not preempt state
20   substantive employment standards because those standards do not regulate the process
21   of collective bargaining. See, e.g. Metro. Life Ins. Co. v. Mass, 471 U.S. 724, 753
22   (1985); Fort Halifax Packing Co. v. Coyne, 482 U.S. 1, 19–20 (1987); Am. Hotel &
23   Lodg. Ass’n v. City of L.A., 834 F.3d 958, 963–65 (9th Cir. 2016); Assoc. Builders &
24   Contractors of So. Calif. v. Nunn, 356 F.3d 979, 990 (9th Cir. 2004).
25         Next, the CGA claims the Ordinance violates the U.S. and California Contract
26   Clauses. CGA does not adequately plead this theory, failing to identify which
27   contractual terms the Ordinance supposedly impairs. Even if it had, a state or
28   municipal wage mandate does not “substantially impair” an employment contract to

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                      MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
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1    pay something inferior. See Energy Reserves Grp., Inc. v. Kansas Power & Light Co.,
2    459 U.S. 400, 411–12 (1983). If that were the law, the government would have no
3    ability to set minimum wages, overtime, vacation pay, or rest breaks, because an
4    employer could simply point to an employment agreement in which it contracted to
5    pay less. Even if there some basis for arguing that the Contracts Clause is implicated
6    by a wage requirement, the Ordinance meets the deferential standard of review that
7    applies to economic regulations that impair purely private contracts. Id. at 412-13.
8          Finally, the CGA argues that the Ordinance violates the U.S. and California
9    Equal Protection Clauses. Faced with California and Ninth Circuit precedent holding
10   that classifications like those in the Ordinance are perfectly constitutional under
11   rational-basis review, CGA argues that the Ordinance is subject to strict scrutiny
12   because it violates companies’ “fundamental right” to contract freely. Even though it
13   has no legitimate contracts-clause claim, CGA argues that merely asserting that its
14   existing contracts are “implicated” by economic regulation is sufficient to require strict
15   scrutiny under the Equal Protection Clause. Doc. 26, at 12. Courts rejected this notion
16   when they discarded Lochner-era substantive due-process doctrine. See West Coast
17   Hotel Co. v. Parrish, 300 U.S. 379, 391–99 (1937) (“The Constitution does not speak
18   of freedom of contract.”); Nebbia v. N.Y., 291 U.S. 502, 523 (1934) (“[N]either
19   property rights nor contract rights are absolute; for government cannot exist if the
20   citizen may at will use his property to the detriment of his fellows, or exercise his
21   freedom of contract to work them harm.”).
22         Economic regulations like the Ordinance are subject to rational-basis review.
23   See, e.g., Int’l Franch. Ass’n, Inc. v. City of Seattle, 803 F.3d 389, 407 (9th Cir. 2015);
24   RUI One Corp. v. City of Berkeley, 371 F.3d 1137, 1154 (9th Cir. 2004). There are
25   obvious rational bases for the Ordinance’s classifications and requirements.
26         The Court should dismiss CGA’s complaint under Rule 12(b)(6) for failure to
27   state a claim.
28

                                                 2
                      MEMORANDUM IN SUPPORT OF MOTION TO DISMISS
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1                                  STATEMENT OF FACTS
2          Grocery store employees are “essential workers” in California, but many
3    employers have not treated them that way. Grocery workers face significant risks of
4    contracting COVID-19 due to their regular customer contact and the difficulty in
5    maintaining social distancing in retail stores.1 At the outset of the pandemic, many
6    grocery chains introduced temporary “hazard” (or “appreciation” or “hero”) pay for
7    their frontline workers, generally a small premium on hourly wages. By the summer,
8    however, as the first wave of the pandemic waned, most discontinued the pay: “As
9    nonessential businesses reopened in May and June, retail employers signaled they were
10   returning to ‘normal’—just weeks before COVID-19 cases spiked during a second
11   peak.”2 Even as they reneged on their commitment to workers on the pandemic’s
12   frontlines, major grocery store chains were enjoying significant increases in profits, as
13   restaurants and other retail food venues shut down.3
14         Municipal governments in California have stepped in to require large grocery
15   companies to compensate their employees for the risks that they are taking on our
16   behalf. On January 19, 2021, the City passed the Ordinance, the first of many in
17   California. The Ordinance requires covered grocery stores to provide their non-
18
     1
19     See Lan F-Y, Suharlim C, Kales SN, et al. “Association between SARS-CoV-2
     infection, exposure risk and mental health among a cohort of essential retail workers in
20
     the USA,” OCCUP. ENVIRON. MED. (Oct. 30, 2020) (finding that grocery-store workers
21   with customer contact were five times more likely to contract COVID than those who
22   did not have customer contact and that 20% of sampled grocery workers had the virus),
     available at: https://oem.bmj.com/content/oemed/early/2020/10/11/oemed-2020-
23   106774.full.pdf.
24   2
       Molly Kinder, Laura Stateler, and Julia Du, “Windfall profits and deadly risks:
25   How the biggest retail companies are compensating essential workers during the
     COVID-19 pandemic,” BROOKINGS INSTITUTE (November 2020), available at:
26   https://www.brookings.edu/essay/windfall-profits-and-deadly-risks/
     3
27     Ibid. (finding that Krogers experienced a 90% increase in profits over 2020 and that
28   Albertson’s saw a 153% increase, far higher than the average increase for all retailers
     analyzed by the Brookings Institute researchers).

                                                3
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1    supervisory workers an hourly wage premium of four dollars. Ordinance, §5.91.050.
2    It covers grocery employers with 300 or more employees nationwide and an average of
3    fifteen employees in stores in the City. Id. at § 5.91.040.
4          The Ordinance’s intent is to “compensate[] grocery store workers for the risks of
5    working during a pandemic[,]” as such workers face “magnified risks of catching or
6    spreading the COVID-19 disease because the nature of their work involves close
7    contact with the public[.]” Id. at §5.91.005. Mandating higher pay also “ensures the
8    retention of these essential workers who are on the frontlines of this pandemic
9    providing essential services and who are needed throughout the duration of the
10   COVID-19 emergency.” Id.
11         The City Council passed the Ordinance as an emergency measure so that it
12   would take effect immediately, and the Ordinance expires after 120 days unless the
13   City extends it. Id. at §5.91.050(C). In order to ensure that workers actually benefit
14   from the additional pay, the Ordinance prohibits grocery stores from reducing a
15   covered worker’s compensation “as a result of this Ordinance going into effect,” and
16   establishes a burden-shifting procedure for assessing whether a covered employer has
17   done so. Id. at §5.91.060.
18         Since the City passed the Ordinance, Oakland, San Jose, Montebello, and
19   Seattle, Washington have all passed similar laws, and others are considering them.4
20         CGA responded to the Ordinance’s passage by filing the instant Complaint.
21   Krogers, one of its major members, responded issuing a press release announcing that
22   it would close two Long Beach stores. Docs. 2, 9.5 CGA has filed identical lawsuits
23
24   4
       Oakland Mun. Code Ch. 5.96; San Jose, Cal., Grocery Store Employee Hazard Pay
25   Premium Ordinance (Feb. 9, 2021); Montebello Mun. Code Ch. 5.10; Seattle, Wash.,
     Grocery Employee Hazard Pay Ordinance (Feb. 3, 2021).
26   5
       Suhanna Hussein, “Ralphs and Food 4 Less set to close in Long Beach. They blame
27   hazard pay ordinance,” LA TIMES (Feb. 1, 2021), available at:
28   https://www.latimes.com/business/story/2021-02-01/kroger-closes-two-long-beach-
     grocery-stores-hazard-pay-ordinance.

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1    against hazard-pay ordinances adopted in Oakland and Montebello.6
2                                           ARGUMENT
3        I.        The Ordinance is not preempted by the NLRA.
4             Whether a state or local law is preempted is a question of law that is properly
5    resolved on a motion to dismiss. See, e.g., Fortuna Enter. L.P. v. City of Los Angeles,
6    673 F.Supp.2d 1000, 1003-04 (C.D. Cal. 2008) (“Since this is a facial challenge to the
7    Ordinance, there is no need for further development of the facts.”); see also Indus.
8    Truck Ass’n, Inc. v. Henry, 125 F.3d 1305, 1309 (9th Cir. 1997).7
9             CGA’s Complaint and injunction briefs proceed from misunderstandings about
10   federal labor law’s relationship to state employment standards.
11            A.     Machinists preemption applies to state laws that regulate the
12                   bargaining process, not substantive employment protections.

13            CGA’s argues that the Ordinance is preempted under the Machinists doctrine of
14   federal labor preemption. Doc. 9, ¶ 24 (citing Lodge 76, Int’l Ass’n of Machinists v.
15   Wisc. Emp’t Relations Comm’n, 457 U.S. 132 (1976)).
16            Under the Machinists doctrine, “[s]tates are . . . prohibited from imposing
17   additional restrictions on economic weapons of self-help, such as strikes and lockouts,
18   unless such restrictions presumably were contemplated by Congress.” Golden State
19   Transit Corp. v. City of Los Angeles, 475 U.S. 608, 614–615 (1986). State activity is
20   preempted under this doctrine “on the theory that preemption is necessary to further
21   Congress[’s] intent that ‘the conduct involved be unregulated because [it should be]
22   controlled by the free play of economic forces.’” Fort Halifax, 482 U.S. at 19–20
23   (quoting Machinists, 427 U.S. at 140) (second edit in original). Thus, Machinists
24
     6
25     California Grocers Association v. City of Oakland, Case No. 21-cv-00863-DMR
     (N.D. Cal.); California Grocers Association v. City of Montebello, Case No. 21-cv-
26   01011-FLA-AGR (C.D. Cal.).
     7
27     CGA asserts a facial challenge, rather than an as-applied one, because it seeks an
28   injunction to prevent the Ordinance’s enforcement under any circumstances. See Am.
     Hot. & Lodg. Ass’n v. City of L.A., 119 F.Supp.3d 1177, 1194 (C.D. Cal. 2015).

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1    preemption—like the NLRA itself—is “concerned primarily with establishing an
2    equitable process for determining terms and conditions of employment, and not with
3    particular substantive terms of the bargain[.]” Metro. Life Ins. Co. v. Mass, 471 U.S.
4    724, 753 (1985) (emphasis added); Burnside v. Kiewit Pac. Corp., 491 F.3d 1053,
5    1068–69 (9th Cir. 2007); cf. Machinists, 427 U.S. at 135-36 (state law punishing
6    peaceful union strike as unfair labor practice preempted); Teamsters v. Morton, 377
7    U.S. 252, 260 (1964) (state law prohibiting unions from using the “economic weapon”
8    of secondary boycotts during labor disputes preempted).
9          State and local laws that establish substantive employment standards are not
10   preempted under Machinists because they do not interfere with the collective
11   bargaining process. The Supreme Court has made this point repeatedly. In
12   Metropolitan Life Insurance Company v. Massachusetts, Massachusetts required health
13   insurance plans, including collectively bargained plans, to have certain mental health
14   benefits. Metro. Life, 471 U.S. at 748. The employer argued that this interfered with
15   its right to bargain for a lower level of health insurance benefits than those mandated
16   by state law. Id. at 751. The Court rejected this argument:
17         Minimum state labor standards affect union and nonunion employees
18         equally, and neither encourage nor discourage the collective-bargaining
19         processes that are the subject of the NLRA. . . . Rather, they are minimum
           standards “independent of the collective-bargaining process [that] devolve
20         on [employees] as individual workers, not as members of a collective
21         organization.”
22   Id. at 755 (internal quotation and citation omitted). Congress legislated against a
23   backdrop of state employment protections, yet “there is no suggestion in the legislative
24   history of the Act that Congress intended to disturb the myriad state laws then in
25   existence that set minimum labor standards, but were unrelated in any way to the
26   processes of bargaining or self-organization.” Id. at 756.
27         In Fort Halifax Packing Company v. Coyne, the Court held that a Maine law
28   requiring companies to pay their workers severance when they closed large plants was

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1    not preempted. Like CGA, the employer argued “that the Maine law intrudes on the
2    bargaining activities of the parties because the prospect of a statutory obligation
3    undercuts the employer’s ability to withstand a union’s demand for severance pay.”
4    Fort Halifax, 482 U.S. at 20. The Court disagreed: “This argument—that a State’s
5    establishment of minimum labor standards undercuts collective bargaining—was
6    considered in and rejected in Metropolitan Life Ins. Co. v. Massachusetts[.]” Id. The
7    Court continued:
8          It is true that the Maine statute gives employees something for which they
9          otherwise might have to bargain. That is true, however, with regard to any state
           law that substantively regulates employment conditions. Both employers and
10         employees come to the bargaining table with rights under state law that form a
11         “backdrop” for their negotiations.
12   Id. at 21. The fact “that a state statute pertains to matters over which the parties are
13   free to bargain cannot support a claim of pre-emption[.]” Ibid.
14         Both unions and employers negotiate from state-law baselines. “Absent a
15   collective-bargaining agreement, for instance, state common law generally permits an
16   employer to run the workplace as it wishes. The employer enjoys this authority
17   without having to bargain for it.” Ibid. If an employer and a union do not agree on a
18   just-cause provision, then the at-will employment rule applies to the union’s members.
19   See Cal. Labor Code §2922. California’s at-will employment rule is not preempted
20   because it gives employers something that they would otherwise have to bargain for,
21   any more than state and local wage mandates are. Am. Hotel & Lodging Ass’n, 834
22   F.3d at 963 (“[S]tate action that intrudes on the mechanics of collective bargaining is
23   preempted, but state action that sets the stage for such bargaining is not.”).
24         CGA misrepresents (or more likely, misunderstands) a passage from Machinists
25   in arguing otherwise. In its preliminary-injunction briefing, CGA argues that the
26   Machinists Court “held that state and local laws are therefore preempted where they
27   ‘attempt to influence the substantive terms of collective bargaining agreements.’” Doc.
28   26, at 3 (quoting Machinists, 427 U.S. at 153). But the quote in question reads in its

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1    entirety: “‘[I]f the [National Labor Relations Board] could regulate the choice of
2    economic weapons that may be used as part of collective bargaining, it would be in a
3    position to exercise considerable influence upon the substantive terms on which the
4    parties contract.’” Machinists, 427 U.S. at 153 (emphasis added). The Court was
5    quoting NLRB v. Ins. Agents’ Int’l Union, 361 U.S. 477, 490 (1960), which held that
6    the NLRB could not “in the guise of determining good or bad faith in negotiations . . .
7    regulate what economic weapons a party might summon to its aid.” Neither case says
8    anything about state or local employment standards; both deal with economic weapons
9    that Congress intended to remain unregulated. CGA’s blunder underscores how far out
10   of its depths it is in arguing its labor-preemption theory.
11         Courts in this Circuit have repeatedly applied Metropolitan Life and Fort
12   Halifax to uphold substantive labor standards over Machinists challenges, stressing in
13   each case the fundamental difference between state substantive employment
14   protections and state laws that regulate the collective-bargaining process. See, e.g.,
15   Am. Hotel & Lodg. Ass’n, 834 F.3d at 963–65 (city ordinance requiring higher
16   minimum wages and compensated time off for employees of large hotels not
17   preempted); Nunn, 356 F.3d at 990 (minimum wages and benefits for state-registered
18   apprentices on public and private construction projects not preempted); Viceroy Gold
19   Corp. v Aubry, 75 F.3d 482, 489–90 (9th Cir. 1996) (overtime regulation that applied
20   only to miners not preempted); Nat. Broad. Co. v. Bradshaw, 70 F.3d 69, 71–73 (9th
21   Cir. 1995) (state overtime protection for the broadcast industry not preempted); Kyne v.
22   Ritz-Carlton Hotel Co., 835 F.Supp.2d 914, 929 (D. Haw. 2011) (hotel service-charge
23   ordinance not preempted); Wadsworth v. KSL Grand Wailea Resort, Inc., 818 F. Supp.
24   2d 1240, 1261 (D. Haw. 2010) (same); Fortuna Enter. L.P. v. City of Los Angeles, 673
25   F.Supp.2d 1000, 1006–12 (C.D. Cal. 2008) (living-wage ordinance that applied to
26   hotels in area adjacent to airport not preempted); Columbia Sussex Mgmt., LLC v. City
27   of Santa Monica, No. 219CV09991ODWSKX, 2020 WL 5358505, at *7 (C.D. Cal.
28   Aug. 28, 2020) (“The Workload Limitation Provision and its corresponding Waiver

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1    ‘do not regulate the mechanics of labor dispute resolution,’ but instead ‘provide the
2    “backdrop” for negotiations,’ similar to other state minimum labor standards.”).
3          CGA nibbles around the edges of these cases, attempting to distinguish some
4    based on factual differences in the wages mandated or the industries and employers
5    covered. See Doc. 26, at 5-7. But it fails to recognize that Ninth Circuit courts upheld
6    all of these targeted employment standards based on the basic difference between
7    substantive employment standards and regulation of the collective bargaining process.
8    CGA’s rote repetition of arguments that the Supreme Court and Ninth Circuit courts
9    have consistently rejected borders on frivolous.
10         B.     The Ordinance establishes a substantive labor standard and does not
11                regulate the collective-bargaining process.
12         The Ordinance mandates that grocery employers pay their non-supervisory
13   workers an hourly premium to compensate for the job-related hazards posed by
14   COVID-19 and to promote their retention during the pandemic. Ordinance,
15   §§5.91.005, 5.91.050(A). To ensure that the Ordinance is not rendered a nullity, the
16   Ordinance prohibits employers from reducing workers’ hours or their other
17   compensation “as a result of [the] Ordinance going into effect.” id. at §5.91.060.
18         CGA does not allege that the Ordinance directly regulates the process of
19   collective bargaining. Instead, it argues that the Ordinance interferes with collective
20   bargaining by “empower[ing] the UFCW or other collective bargaining units [sic] to
21   secure a wage rate they could not otherwise have obtained from the employer at a
22   unionized or non-union grocery store.” Doc. 9, ¶26; see also Doc. 26, at 5 (arguing
23   that the Ordinance “‘virtually dictates the results of the contract’ between stores and
24   UFCW 324, which is the process of negotiating premium pay for hours worked during
25   the pandemic.”). This is the same argument made by the employer and rejected by the
26   Supreme Court in Fort Halifax. See 482 U.S. at 20 (rejecting employer’s argument
27   that Maine law was preempted because it “undercut[] an employer’s ability to
28   withstand a union’s demand for severance pay”). A unionized employer is not

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1    prohibited from negotiating additional pay for its employees, including additional
2    hazard pay. Cf. Doc. 26, at 6. But both union and non-union employers are required to
3    provide the mandated hazard pay regardless of the outcome of those negotiations.
4          CGA also claims that the Ordinance “is not a minimum labor standard[]” but
5    rather a “mandatory hourly bonus for a specific group of workers[.]” Doc. 2. ¶27.
6    This is a non-sequitur. If CGA’s argument is that only minimum-wage laws are
7    exempt from Machinists preemption and not laws that mandate bonuses or premium-
8    pay, the argument is baseless. See, e.g., Ft. Halifax, 482 U.S. at 20-22 (upholding
9    statute requiring week’s pay for each year of employment as severance); Bradshaw, 70
10   F.3d at 72 (law requiring double-rate overtime in broadcast industry).
11         Similarly, the fact that the Ordinance applies to employees of large grocery
12   companies is irrelevant. See, e.g., Am. Hotel & Lodg. Ass’n, 834 F.3d at 963–65
13   (minimum-wage law that applied to non-supervisory workers at large hotels in Los
14   Angeles not preempted); Viceroy Gold Corp., 75 F.3d 489-90; Bradshaw, 70 F.3d at
15   72; Fortuna Enter., 673 F.Supp.2d at 1006–12 (minimum-wage ordinance that applied
16   to large hotels in the district surrounding Los Angeles International Airport not
17   preempted). CGA complains that the Ordinance is “extremely narrowly tailored” and
18   applies only to a limited number of grocery stores. Doc. 26, at 5. But the fact that the
19   City targeted large businesses in one industry does not support preemption: “It is now
20   clear in this circuit that state substantive labor standards, including minimum wages,
21   are not invalid simply because they apply to particular trades, professions, or job
22   classifications rather than to the entire labor market.” Nunn, 356 F.3d at 990;8 Cal.
23   Grocers Ass’n v. City of Los Angeles, 52 Cal.4th 177, 193-208 (2011) (ordinance
24   protecting large grocery stores’ non-supervisory employees not preempted).
25
     8
       CGA’s reliance on 520 S. Michigan Ave. Assocs., Ltd. v. Shannon, 549 F.3d 1119,
26   1136 (7th Cir. 2008) for the “common sense proposition” that more “stringent” or
27   targeted substantive employment standards are more likely to be preempted ignores the
28   fact that the Seventh Circuit panel only arrived at its conclusion by refusing to follow
     post-Bragdon Ninth Circuit precedent. Id. at 1131.

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1          CGA further claims that the City did not adopt the Ordinance for an acceptable
2    reason, and that “[w[hile the City has the ability to enact ordinances to further the
3    health and safety of its citizens, the Ordinance here bears no relation to those goals.”
4    Doc. 9, ¶27. But the City’s police power is not limited to health- and safety-related
5    legislation. “‘States possess broad authority under their police powers to regulate the
6    employment relationship to protect workers within the State. Child labor laws,
7    minimum and other wage laws, laws affecting occupational health and safety . . . are
8    only a few examples.’” Metropolitan Life, 471 U.S. at 756 (quoting Canas v. Bica,
9    424 U. S. 351, 356 (1976)). Mandating premium or supplemental pay for particularly
10   difficult work is commonplace. See, e.g.. Cal. Labor Code §§858, 860 (finding that
11   “[a]gricultural employees engage in back-breaking work every day” and mandating
12   overtime premium pay for them); California Hotels & Lodging Ass’n v. City of
13   Oakland, 393 F. Supp. 3d 817, 821-22 (N.D. Cal. 2019) (rejecting state and federal
14   preemption challenges to ordinance requiring premium pay for assignment of heavy
15   workloads to hotel housekeepers); Columbia Sussex Mgmt, 2020 WL 5358505, at *7
16   (upholding similar law over Machinists preemption challenge).
17         CGA’s belief that “[l]ocal minimum wage laws . . . seek to lessen the burden on
18   public welfare services”—and that this is what saves them from preemption—is
19   bizarre. See Doc. 9, ¶27. While some jurisdictions may hope that increasing local
20   minimum wages will decrease demand for means-tested municipal services, the main
21   goal of living-wage ordinances is to address poverty in high-cost cities. See RUI One
22   Corp., 371 F.3d at 1141 (“Recognizing the plight of its own working poor, the City of
23   Berkeley, California, has joined dozens of other cities nationwide to help bridge the
24   gap between federal and state laws setting the minimum wage—the real value of which
25   has decreased over the past few decades—and the costs of modern urban living by
26   enacting ‘living wage’ ordinances.”). Mandating additional pay to compensate grocery
27   workers for the risks that they face is “a valid and unexceptional exercise of the
28   [City’s] police power.” Metropolitan Life, 471 U.S. at 758.

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1          CGA also argues that the Ordinance is preempted because it is “designed” to
2    benefit UFCW Local 324. Doc. 9, ¶¶16-17, 27; Doc. 26, at 3. To the extent that CGA
3    is arguing that the Ordinance is preempted because it is the result of unions lobbying
4    for legislation benefiting their members, that argument is baseless. “Congress did not
5    intend for the NLRA’s . . . preemptive scope to turn on state officials’ subjective
6    reasons for adopting a regulation or agreement.” Johnson v. Rancho Santiago Cmty.
7    Coll. Dist., 623 F.3d 1011, 1026 (9th Cir. 2010) (refusing to consider plaintiffs’
8    argument that the community college district had “ulterior motives” to “reward the
9    unions”); Int’l Paper Co. v. Town of Jay, 928 F.2d 480, 483–84 (1st Cir. 1991)
10   (declining to read preemption doctrine “so broadly as to require inquiry . . . into
11   the motives of the selectmen prior to the Board’s drafting and proposing the
12   Ordinance”); N. Ill. Chapter of Assoc. Builders and Contractors, Inc. v. Lavin, 431
13   F.3d 1004, 1007 (7th Cir. 2005) (“Federal preemption doctrine evaluates what
14   legislation does, not why legislators voted for it or what political coalition led to its
15   enactment.”); Prime Healthcare Servs., Inc. v. Harris, 216 F. Supp. 3d 1096, 1121
16   (S.D. Cal. 2016) (“In determining whether NLRA preemption applies, a court does not
17   conduct a subjective inquiry into the reasons for the action.”).
18         CGA finds it suspect that the Ordinance excludes “confidential employees” from
19   the definition of a “grocery worker” and sees a plot to cover only “union-eligible”
20   employees. Doc. 26, at 3 & n.1. But exclusions for confidential employees are
21   common, including in California employment laws. See, e.g., Cal. Lab. Code § 1060
22   (Displaced Janitor Opportunity Act) (“‘Employee’ does not include a person who is a
23   managerial, supervisory, or confidential employee, including those employees who
24   would be so defined under the federal Fair Labor Standards Act”); Cal. Lab. Code §
25   2502 (Grocery Worker Retention Act) (“‘Eligible grocery worker’ does not include a
26   managerial, supervisory, or confidential employee.”); L.A. Admin. Code § 10.37.1(f).
27   Excluding confidential employees from legal protection is not, as CGA argues, limited
28   to the NLRA. Cf. Doc. 26, at 3. “Confidential employees” are exempt from federal

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1    civil service protections, for example. See 5 U.S.C. § 7511(b)(2); Stanley v. Gonzales,
2    476 F.3d 653, 656 (9th Cir. 2007). They are also excluded from First Amendment
3    protection against retaliation. Biggs v. Best, Best & Krieger, 189 F.3d 989, 993 (9th
4    Cir. 1999). The City could rationally conclude that employees entrusted with their
5    employer’s confidential information would have power to negotiate COVID-related
6    compensation, and that covering such employees is incompatible with the Ordinance’s
7    anti-retaliation provision, just as it is considered to be for other forms of retaliation
8    protection. See Am. Hotel & Lodging Ass’n, 119 F. Supp. 3d at 1195 (upholding
9    minimum-wage ordinance that excluded “confidential” hotel employees).
10          Finally, CGA argues that the Ordinance is preempted because it does not contain
11   a so-called “opt-out” provision, allowing unions and unionized employers to waive the
12   generally applicable standard and bargain for something else. Doc. 26, at 6, 7. Some
13   employers have argued unsuccessfully that cities’ inclusion of a collective-bargaining
14   opt-out supported a Machinists-preemption claim. See Am. Hotel & Lodging Ass’n,
15   834 F.3d at 965 (“The Supreme Court has made clear, however, that the NLRA ‘cast[s]
16   no shadow on the validity of these familiar and narrowly drawn opt-out provisions.’”)
17   (quoting Livadas v. Bradshaw, 512 U.S. 107, 132 (1994)); Nat’l Broad. Co. v.
18   Bradshaw, 70 F.3d at 72 (upholding application of opt-out provision to broadcast-
19   industry overtime law). But no support exists for the notion that employment laws are
20   required to include collective-bargaining opt-outs that exempt unionized workers from
21   the protection of otherwise applicable employment standards. Such a rule would
22   improperly penalize union workers. See Burnside, 491 F.3d at 1070 (“To hold
23   otherwise would impermissibly disadvantage the unionized employee, because a
24   failure to negotiate the right nevertheless will result in its forfeiture.”).
25          C.     Chamber of Commerce v. Bragdon does not apply to the Ordinance.
26          CGA relies exclusively on Chamber of Commerce v. Bragdon, 67 F.3d 497 (9th
27   Cir. 1995). Doc. 18, at 6. But Bragdon is factually distinct and more recent Ninth
28   Circuit precedent abrogates the case’s broader dicta.

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1          Bragdon involved an ordinance that required contractors on private construction
2    projects to provide a wage-and-benefit package that was determined exclusively by
3    reference to collective-bargaining agreements. Bragdon, 67 F.3d at 502. As the Ninth
4    Circuit later explained in clarifying the case’s scope, the problem with the prevailing-
5    wage ordinance in Bragdon was that it required private, non-union employers to
6    comply with the collectively bargained wages and benefits in the unionized sector.
7    Nunn, 356 F.3d at 991. “This manner of setting wages, the court held, gave employers
8    what amounted to a Hobson’s choice—they had either to accept the results of third
9    parties’ collective bargaining processes or enter into a collective bargaining agreement
10   themselves.” Calop Bus. Sys., Inc. v. City of Los Angeles, 984 F. Supp. 2d 981, 1011
11   (C.D. Cal. 2013), aff’d in part, appeal dismissed in part, 614 F. App’x 867 (9th Cir.
12   2015). For that reason, “[i]n invalidating Contra Costa County’s prevailing wage
13   ordinance, we carefully distinguished, for purposes of preemption, state-established
14   minimum wage regulations, which we acknowledged to be lawful.” Nunn. 356 F.3d at
15   991 n.8 (citing Bragdon, 64 F.3d at 502). See also Am. Hotel & Lodging Ass’n, 834
16   F.3d at 965 n.5 (ordinance in Bragdon was preempted because “prevailing wages were
17   defined as the per diem wages set by the state for public works projects, which in turn
18   were based on the wages in local collective bargaining agreements, effectively forcing
19   nonunion employers to pay what amounted to a union wage.”).
20         All workplace statutes impose wages and other terms of employment without
21   requiring affected employers and employees to bargain for them. This is not a basis
22   for holding them preempted. See, e.g., Metro. Life¸ 471 U.S. at 748; Fort Halifax, 482
23   U.S. at 21; cf. Doc. 18, at 6. Bragdon held that the prevailing wage ordinance before it
24   was preempted because the ordinance made non-union contractors’ wages and benefits
25   dependent on third-parties’ collectively bargaining, and thus “affect[ed] the bargaining
26   process in a much more invasive and detailed fashion,” than wage-and-hour laws.
27   Bragdon, 67 F.3d at 502; Nunn, 356 F.3d at 991. The Ordinance does not do this.
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1          As CGA should recognize, the Ninth Circuit has effectively limited Bragdon to
2    its facts and rejected requests to strike down minimum- and premium-pay requirements
3    like the Ordinance’s based on the decision’s broader dicta. See Cal. Grocers Ass’n, 52
4    Cal.4th at 200 (“[T]he Ninth Circuit Court of Appeals has effectively repudiated
5    Bragdon, and a majority of other circuits have limited Bragdon to its facts.”);
6    American Hotel & Lodging Ass’n, 834 F.3d at 965 n.5 (distinguishing minimum-wage
7    requirement before it from prevailing-wage ordinance in Bragdon); Assoc. Builders &
8    Contractors of Cal. Cooperation Comm., Inc. v. Becerra, 231 F. Supp. 3d 810, 823–24
9    (S.D. Cal. 2017), aff’d sub nom. Interpipe Contracting, Inc. v. Becerra, 898 F.3d 879
10   (9th Cir. 2018) (“Plaintiffs ignore that the Ninth Circuit has retreated from its holding
11   in Bragdon, cautioning that it ‘must be interpreted in the context of Supreme Court
12   authority and . . . other, more recent, rulings on NLRA preemption.’”) (quoting Nunn,
13   356 F.3d at 990); Fortuna Enters., 673 F.Supp.2d at 1010 (noting the Ninth Circuit’s
14   “significant retreat from its holding in Bragdon” and upholding minimum-wage law
15   that applied to workers at large hotels in airport district); see also Rondout Elec., Inc. v.
16   NYS Dep’t of Labor, 335 F.3d 162, 169 (2d Cir. 2003) (questioning whether Bragdon
17   was decided correctly and distinguishing it); St. Thomas-St. John Hotel & Tourism
18   Ass’n, Inc. v. Gov’t of U.S. Virgin Islands, 218 F.3d 232, 244 (3d Cir. 2000)
19   (questioning compatibility of Bragdon with Metropolitan Life and Fort Halifax and
20   declining to follow it); cf. 520 South Michigan Ave. Assoc., 549 F.3d at 1134.
21         If anything, CGA misuses Bragdon to an even greater degree, citing the
22   Ordinance’s very neutrality toward collective bargaining as a reason that it is
23   preempted. Doc. 9, ¶27 (citing Ordinance’s requirement of premium-pay “regardless
24   of the wage negotiated in collective bargaining agreements” as a reason it is
25   preempted); Doc. 18, at 7 (complaining about “disparate impacts on union and non-
26   union workers[]” because the Ordinance does not take higher, collectively bargained
27   pay rates into account). CGA’s illogical argument is apparently that the Ordinance is
28   so neutral toward collective bargaining that it interferes with it.

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1             Like other employers before it, CGA argues—based on Bragdon and misleading
2    quotations from American Hotel & Lodging Association—that the Ordinance should be
3    held preempted because it is “too stringent” or onerous to covered grocery stores. Doc.
4    26, at 5 (arguing that Ordinance’s premium pay is preempted because it represents a
5    “27% raise on the low range of the compensation spectrum.”). American Hotel &
6    Lodging Association did not endorse this view. It made clear that the decision in
7    Bragdon was based on the fact that the ordinance tied mandated wages and benefits to
8    collectively bargained rates. 834 F.3d at 965 & n.5. Covered hotels attacked the
9    ordinance for mandating a substantial increase in minimum wages and “disregard[ing]
10   the hotel industry’s distinction between tipped and non-tipped employees, which
11   creates exceedingly costly compensation schemes inconsistent with hotel
12   economies[.]” Am. Hotel & Lodging Ass’n, 119 F. Supp. 3d at 1186. But the trial
13   court pointed out that “Plaintiffs cannot identify a single case where any court held that
14   a minimum labor standard was so onerous that it rendered the statute preempted,” id. at
15   1191, and it ventured that “a minimum wage standard would need to have a degree of
16   outrageousness — an amount that is completely arbitrary and has no rational basis with
17   respect to its intended purpose — for it to be considered an extreme case that compels
18   preemption.” Id. at 1192. Even if the argument that a minimum-wage law may be
19   held Machinists preempted based on its “stringent” nature—which the Ninth Circuit’s
20   decisions Nunn and American Hotel & Lodging Association (as well as Metropolitan
21   Life and Fort Halifax) foreclose—a $4.00 increase in hourly pay for employees of
22   large grocery stores would not establish preemption.
23            The Court should dismiss CGA’s federal labor preemption cause of action.
24      II.      The Ordinance does not violate the Contracts Clauses of either the
25               United States or California Constitutions.

26            CGA includes causes of action claiming that the Ordinance violates the U.S. and
27   California Contracts Clauses. Doc. 9, ¶¶41-47. But CGA’s preliminary-injunction
28   motion foregoes any attempt to argue this claim. See Doc. 26, at 8-16. The contract-

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1    clause causes of action appear to simply be a stalking horse for CGA’s claim that the
2    Ordinance violates equal protection. Doc. 26, at 9-10; see infra. They have no merit.
3          “Although the text of the Contract Clause is facially absolute, the Supreme
4    Court has long held that its prohibition must be accommodated to the inherent police
5    power of the State to safeguard the vital interests of its people.” RUI One Corp.,
6    371 F.3d at 1146 (internal citations and quotation marks omitted). “The Contract
7    Clause does not deprive the States of their ‘broad power to adopt general regulatory
8    measures without being concerned that private contracts will be impaired, or even
9    destroyed, as a result.’” Exxon Corp. v. Eagerton, 462 U.S. 176, 190 (1983); (quoting
10   United States Trust Co. v. New Jersey, 431 U.S. 1, 22 (1977)).
11         Whether a regulation violates the Contract Clause is governed by a three-step
12   inquiry: “The threshold inquiry is ‘whether the state law has, in fact, operated as a
13   substantial impairment of a contractual relationship.’ ” Energy Reserves, 459 U.S. at
14   411 (quoting Allied Structural Steel Co. v. Spannaus, 438 U.S. 234, 244 (1978)). If
15   this threshold inquiry is met, the court must inquire whether “the State, in justification,
16   [has] a significant and legitimate public purpose behind the regulation, such as the
17   remedying of a broad and general social or economic problem.” Energy Reserves, 459
18   U.S. at 411–12 (citation omitted). Finally, the court must inquire “whether the
19   adjustment of ‘the rights and responsibilities of contracting parties is based upon
20   reasonable conditions and is of a character appropriate to the public purpose justifying
21   the legislation’s adoption.’ ” Id. at 412–13 (quoting United States Trust Co. v. New
22   Jersey, 431 U.S. 1, 22 (1977)).
23         Courts apply a deferential standard to economic regulation affecting private
24   contracts. “Unless the State itself is a contracting party, ‘as is customary in reviewing
25   economic and social regulation, . . . courts properly defer to legislative judgment as to
26   the necessity and reasonableness of a particular measure.’ ” Energy Reserves, 459
27   U.S. at 412–13 (quoting U.S. Trust Co., 431 U.S. at 22–23); RUI One Corp., 371 F.3d
28   at 1150 (upholding a municipal living wage ordinance that altered contractual

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1    expectations because “[t]he power to regulate wages and employment conditions lies
2    clearly within a state’s or a municipality’s police power.”); Ass’n of Surrogates &
3    Supreme Court Reporters Within City of N.Y. v. State of N.Y., 940 F.2d 766, 771 (2d
4    Cir. 1991) (“[L]egislation which impairs the obligations of private contracts is tested
5    under the contract clause by reference to a rational-basis test[.]”); Chicago Bd. of
6    Realtors, Inc. v. City of Chicago, 819 F.2d 732, 737 (7th Cir. 1987) (where government
7    is not a party, courts assess whether the government adopted a law that it “rationally
8    could have believed would lead to improved public health and welfare”).
9          A.     The Ordinance does not substantially impair the terms of any
10                employment contract or collective bargaining agreement.

11         CGA’s theory of how the Ordinance impairs its members’ contracts is a
12   mystery. All that CGA says is that “[t]he Ordinance substantially interferes with
13   Members’ contracts, including its collective bargaining agreements.” Doc. 9, ¶43.
14   This is a legal conclusion, not a factual assertion, and is insufficient to avoid dismissal.
15   See Iqbal v. Ashcroft, 556 U.S. 662, 678 (2009) (“Threadbare recitals of the elements
16   of a cause of action, supported by mere conclusory statements, do not suffice.”). CGA
17   never even identifies which contract terms were allegedly impaired. Nor has CGA
18   elaborated on its contracts-clause theory in its preliminary-injunction briefing. See
19   Doc. 18, at 10 n.1; Doc. 26, at 8-16.
20         In any event, a state or local mandate that an employer pay minimum wages or a
21   wage premium does not substantially impair the employer’s employment contract or
22   collective bargaining agreement. No employment contract contains a legally
23   enforceable term that immunizes the employer from statutes and ordinances that
24   protect the contracting employee.
25         Otherwise, one would be able to obtain immunity from the state regulation by
           making private contractual arrangements. . . . [As] summarized in Mr. Justice
26
           Holmes’ well-known dictum: “One whose rights, such as they are, are subject to
27         state restriction, cannot remove them from the power of the State by making a
28         contract about them.”

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1    United States Trust, 431 U.S. at 23; see RUI One Corp., 371 F.3d at 1149. Like its
2    equal-protection argument, see infra, CGA’s contracts-clause claim calls for a return to
3    the Lochner era, when constitutional “freedom to contract” superseded state regulation.
4          The analysis is no different for collective bargaining agreements. As explained
5    above, federal labor law does not preempt the application of state employment
6    standards to unionized workers, and does not permit states to withhold employment
7    protections based on the fact that workers are unionized. “In the Machinists line of
8    cases, the Court has repeatedly repudiated the idea that the mere ability of unionized
9    workers to bargain collectively somehow makes it permissible to give unionized
10   employees fewer minimum labor-standards protections under state law than other
11   employees.” Burnside, 491 F.3d at 1068; Metro. Life Ins., 471 U.S. at 755–56 (“It
12   would turn the policy that animated the Wagner Act on its head to understand it to
13   have penalized workers who have chosen to join a union by preventing them from
14   benefiting from state labor regulations imposing minimal standards on nonunion
15   employers”). CGA members’ collective bargaining agreements that do not mandate
16   hazard pay, or that mandate hazard pay of less than $4.00, are not “impaired” by the
17   Ordinance, any more than grocery stores’ individual employment contracts are. Unless
18   the statute in question includes an express “opt-out” provision, unionized employers
19   may not contract around state employment protections any more than non-union ones
20   may. See Burnside, 491 F.3d at 1069-70.
21         Even if CGA could allege how the Ordinance impairs its members’ collective
22   bargaining agreements (or other employment contracts), any such impairment would
23   not be “substantial.” Energy Reserves, 459 U.S. at 411 (“In determining the extent of
24   the impairment, we are to consider whether the industry the complaining party has
25   entered has been regulated in the past.”). Courts regularly reject contracts-clause
26   challenges to economic regulation of the employment relationship, which is almost
27   singularly subject to state regulation. See RUI One, 371 F.3d at 1150 (“The power to
28   regulate wages and employment conditions lies clearly within a state’s or a

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1    municipality’s police power.”); Olson v. California, No. CV1910956DMGRAOX,
2    2020 WL 6439166, at *11 (C.D. Cal. Sept. 18, 2020) (rejecting contracts-clause
3    challenge to AB5’s classification of rideshare drivers; “a court is less likely to find
4    substantial impairment when a state law ‘was foreseeable as the type of law that would
5    alter contract obligations.’”) (quoting Energy Reserves Grp., 459 U.S. at 416).
6          California employers are subject to extensive wage regulation at both the local
7    and state levels. See e.g., Cal. Labor Code §1182.12; Los Angeles Mun. Code §187.00
8    et seq. Wage regulations frequently target particular industries, and major employers
9    within those industries. See, e.g., Long Beach Mun. Code. §5.48.020 (higher minimum
10   wage for large hotel employers). Cities and the State have singled out large grocery
11   employers for special employment regulations. Los Angeles Mun. Code §181.00 et
12   seq.; Cal. Lab. Code §2502. In light of this already extensive regulation of CGA
13   members’ wage terms and employment relationships, an additional $4.00 per hour
14   wage mandate cannot be considered a “substantial” impairment.
15         B.     Even if it substantially impaired CGA members’ contracts, the
16                Ordinance has a reasonable public purpose.

17         Government regulation of purely private contracts is subject to the same
18   deferential review applied to other forms of economic and social legislation. See
19   Energy Reserves, 459 U.S. at 412–13. As under equal-protection analysis, “courts
20   properly defer to legislative judgment as to the necessity and reasonableness of a
21   particular measure.” Id.; Olson, 2020 WL 6439166, at *11 (“AB 5 fits within the
22   State’s authority to regulate employment relationships and thus satisfies the public
23   purpose test imposed in a Contracts Clause challenge.”).9
24   9
       CGA has cited to only two contracts-clauses cases in support of its theory, neither of
25   which is applicable. Sonoma Ct. Org. of Pub. Employees v. City of Sonoma, 23 Cal.3d
26   296 (1979) involved cities’ attempts to abrogate wage-increases set forth in their own
     collective bargaining agreements with public-sector unions, not the economic
27   regulation of private contracts. Spannaus, 438 U.S. at 250–51, involved a pension law
28   that would have retroactively modified compensation that an employer had paid for the
     past decade. See Olson v. California, No. CV1910956DMGRAOX, 2020 WL 5572, at
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1          The Ordinance’s rational bases are described below. CGA’s argument that there
2    is no reasonable or legitimate reason for the City to mandate hazard pay is in obvious
3    conflict with the fact that CGS’s own members considered such pay appropriate to
4    compensate their workers for the COVID-related risks that those workers faced during
5    the first wave of the pandemic. Cf. Doc. 9, ¶3; supra, nn. 2, 3.
6       III.    The Ordinance does not violate the U.S. or California Equal Protection
                Clause.
7
           A.     There is no fundamental “freedom to contract.”
8
9          The absurdity of CGA’s equal-protection argument is demonstrated by the fact
10   that under it, a plaintiff who challenges the economic regulation of a private contract
11   under the Contracts Clause itself must demonstrate that the regulation lacks any
12   reasonable basis, while the same economic regulation is subject to strict scrutiny under
13   the Equal Protection Clause when a plaintiff merely asserts that the regulation
14   “implicates” the Contracts Clause. Doc. 26, at 11-12 (positing theory under which “the
15   Ordinance need not violate the Contracts Clause to trigger heightened scrutiny under
16   the Equal Protection Clause.”). If CGA were correct, all federal and state legislation
17   that mandated employment standards (and any other regulation that allegedly impaired
18   a contract and thus “implicated” the Contracts Clause) would face strict scrutiny.
19         CGA is, in fact, positing a “nebulous” “fundamental right to be free from
20   unreasonable governmental interference with [] contracts, specifically [] collective
21   bargaining agreements and other employment agreements.” Cf. Doc. 9 ¶ 34; Doc. 26,
22   at 11; Lochner, 198 U.S. at 53 (statute imposing work-hour limitation “interferes with
23   the right of the contract between employer and employe[e]s[.]”). Courts have refused
24   to recognize a fundamental liberty of contract for many years. West Coast Hotel Co.,
25   300 U.S. at 391 (“The Constitution does not speak of freedom of contract.”); cf.
26   Chicago Bd. of Realtors, 819 F.2d at 745 (“The plaintiffs have brought their case in the
27
28   *12 (C.D. Cal. Feb. 10, 2020) (“Plaintiffs cite to inapposite cases that find substantial
     impairment of existing contracts based on statutes that applied retroactively.”).

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1    wrong era.”) (Posner, J.). Fourteenth Amendment theories based on freedom from
2    contractual impairment “have been long superseded by [the Supreme Court’s]
3    approach to the Contract Clause developed over the past three decades, subjecting only
4    state statutes that impair a specific (explicit or implicit) contractual provision to
5    constitutional scrutiny,” and striking down regulations affecting private contracts only
6    if they lack a rational basis. RUI One Corp., 371 F.3d at 1151; Energy Reserves, 459
7    U.S. at 412–13. CGA cannot reinvigorate a baseless contracts-clause claim through
8    the backdoor of the Equal Protection Clause.
9          B.     The Ordinance is subject to rational-basis review.
10         “In areas of social and economic policy, a statutory classification that neither
11   proceeds along suspect lines nor infringes fundamental constitutional rights must be
12   upheld against equal protection challenge if there is any reasonably conceivable state
13   of facts that could provide a rational basis for the classification.” FCC v. Beach
14   Commc’ns, Inc., 508 U.S. 307, 313 (1993).
15         Courts in this Circuit subject regulation of the employment relationship to
16   rational-basis review because such laws do not implicate fundamental constitutional
17   rights. See, e.g., Int’l Franch. Ass’n, 803 F.3d at 407 (district court correctly applied
18   rational-basis review to law requiring franchised employers to pay higher minimum
19   wage); RUI One Corp., 371 F.3d at 1154 (applying rational-basis review to law
20   requiring employers in city marina district to pay living wage); Fortuna Enters., 673 F.
21   Supp. 2d at 1013 (applying rational basis to minimum-wage law that applied to large
22   hotels in district surrounding LAX). CGA says that it is “unable to find any case in
23   which a court was called on to confront a law that directed a subset of employers in a
24   particular industry to pay their employees a specified wage bump, in defiance of their
25   existing contractual relationships,” but this only proves that it has not understood the
26   foregoing cases, or the many others upholding laws doing exactly that. See e.g., Allied
27   Concrete & Supply Co. v. Baker, 904 F.3d 1053, 1061 (9th Cir. 2018) (rejecting equal-
28   protection challenge to requirement that ready-mix companies pay prevailing wages);

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1    Woodfin Suite Hotels LLC v. City of Emeryville, No. 06-cv-1254-SBA, 2006 WL
2    2739309, at *21 (N.D. Cal. Aug 23, 2006) (rejecting equal-protection challenge to
3    minimum-wage ordinance that applied to large hotels); cf. Doc. 26, at 15.
4          Every employer can say that a minimum-wage regulation stands “in defiance of
5    [its] existing contractual relationships” to pay less. Doc. 26, at 15. This does not allow
6    the employer’s equal-protection challenge to avoid rational-basis review.
7          C.     The Ordinance is a rational response to the COVID-19 pandemic.
8          The Ordinance easily meets rational-basis review. The City Council decided
9    that “[r]equiring grocery stores to provide premium pay to grocery workers
10   compensates grocery workers for the risks of working during a pandemic.” Ordinance,
11   §5.91.005. The Council found that “[g]rocery store workers face magnified risks of
12   catching or spreading the COVID-19 disease because the nature of their work involves
13   close contact with the public, including members of the public who are not showing
14   symptoms of COVID-19 but who can spread the disease.” Ibid. The City’s conclusion
15   that grocery workers face a particular risk of contracting COVID-19 is clearly rational.
16   It is borne out by at least one study by occupational epidemiologists and is
17   Cal/OSHA’s current risk assessment. See supra, n.1.10 Requiring employers to pay
18   additional compensation for work that is particularly risky or arduous is commonplace
19
     10
20     See California Dept. of Industrial Relations, “Cal/OSHA Issues Citations to Grocery
     Stores for COVID-19 Violations,” Release No. 2020-83 (Sept. 30, 2020) (“Grocery
21
     retail workers are on the front lines and face a higher risk of exposure to COVID-19,”
22   said Cal/OSHA Chief Doug Parker. “Employers in this industry must investigate
23   possible causes of employee illness and put in place the necessary measures to protect
     their staff.”), available at: https://www.dir.ca.gov/DIRNews/2020/2020-83.html. See
24   also Centers for Disease Control and Prevention, “What Grocery and Food Retail
25   Workers Need to Know about COVID-19” (Nov. 12, 2020) (“As a grocery or food
     retail worker, potential sources of exposures include close contact for prolonged
26   periods of time with a customer with COVID-19 and touching your nose, mouth, or
27   eyes after handling items, cash, or merchandise that customers with COVID-19 have
28   touched.”), available at: https://www.cdc.gov/coronavirus/2019-ncov/community/
     organizations/grocery-food-retail-workers.html.

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1    in California, see supra, Part I.B, and is the basis, for example, of the statutory
2    overtime wage premium. Cal. Labor Code §510.
3          The Ordinance also explains that the additional hazard pay will “better ensure
4    the retention of these essential workers who are on the frontlines of this pandemic
5    providing essential services and who are needed throughout the duration of the
6    COVID-19 emergency.” Id. The link between higher wages and employee retention is
7    both rational and well-established, and the City has a legitimate interest in reducing
8    turnover in grocery stores patronized by the public, so that employees experienced in
9    COVID-19 safety protocols remain on the job.11
10         Many of CGA’s arguments are attempts at misdirection. For example, it argues
11   that “paying these workers an extra $4 an hour . . . will not protect anyone from
12   coronavirus infection.” Doc. 26, at 15. The Ordinance is not intended to protect
13   grocery workers from COVID-19, but to compensate them for the risk of contracting it.
14         CGA disputes the City’s policy judgments, arguing that mandating additional
15   pay does not promote employee retention but “will do just the opposite—raising costs
16   to the extent that at least some stores are forced to raise prices or shut down,
17   threatening to leave many workers without employment entirely.” Doc. 26, at 15. But
18   even if CGA’s view of labor economics were correct, “a state action need not actually
19   further a legitimate interest; it is enough that the governing body ‘could have rationally
20   decided that’ the action would further that interest.” Rancho Santiago Cmty. Coll.
21   Dist., 623 F.3d at 1031 (quoting Minnesota v. Clover Leaf Creamery Co., 449 U.S.
22   456, 466 (1981)); Beach Commc’ns., 508 U.S. at 313-14 (“Where there are plausible
23   reasons for [legislative] action, our inquiry is at an end.”); cf. Guggenheim v. City of
24
     11
25     See California Dept. of Industrial Relations, “COVID-19 Infection Prevention in
     Grocery Stores” (October 27, 2020) (detailing extensive training requirements and
26   safety protocols for reducing the risk of COVID-19 transmission in grocery stores),
27   available at: “https://www.dir.ca.gov/dosh/Coronavirus/COVID-19-Infection-
28   Prevention-in-Grocery Stores.pdf?eType=EmailBlastContent&eID=77f0ecd5-92cc-
     447a-9968-e0a061eac2ef.

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1    Goleta, 638 F.3d 1111, 1123 (9th Cir. 2010) (“Whether the City of Goleta’s economic
2    theory for rent control is sound or not, and whether rent control will serve the purposes
3    stated in the ordinance of protecting tenants from housing shortages and abusively high
4    rents or will undermine those purposes, is not for us to decide. We are a court, not a
5    tenure committee[.]”).
6          CGA complains that the Ordinance violates Equal Protection because other
7    “similarly situated large retailers and other essential employees” are not also subject to
8    it. Doc. 25, at 2. But legislative line-drawing of this kind is “‘virtually unreviewable,
9    since the legislature must be allowed leeway to approach a perceived problem
10   incrementally.’” RUI One Corp., 371 F.3d at 1155 (quoting Beach Commc’ns, 508
11   U.S. at 316). The City was not required to address every category of essential worker
12   or none at all: “‘[R]eform may take one step at a time, addressing itself to the phase of
13   the problem which seems most acute to the legislative mind. The legislature may
14   select one phase of one field and apply a remedy there, neglecting the others.’” Beach
15   Commn’ns, 508 U.S. at 326 (quoting Williamson v. Lee Optical of Ok., Inc., 348 U.S.
16   483, 489 (1955)). The City’s focus on large grocery employers was rational, as these
17   employers are more likely to be able to afford the mandated wage premium.
18         Finally, CGA argues that the Ordinance’s “stated objectives are merely an
19   attempt to impose a public policy rationale on interest-group driven legislation for
20   labor unions and, in particular, for UFCW [Local] 324.” Doc. 9, ¶ 35. But, even if this
21   were true, “it is entirely irrelevant for constitutional purposes whether the conceived
22   reason for the challenged distinction actually motivated the legislature.” Beach
23   Commc’ns, 508 U.S. at 315; RUI One Corp., 371 F.3d at 1155 (employer’s argument
24   that minimum-wage law’s stated reasons “were not the real reasons” and that City
25   “was instead motivated by a desire to help in the unionization campaign at a Marina
26   hotel” irrelevant).
27   ///
28   ///

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1                                       CONCLUSION
2          CGA’s constitutional claims are all barred by decades of established law. The
3    Court should dismiss the Complaint for failure to state a claim.
4
5    Dated: February 17, 2021               Respectfully Submitted,
6
                                            McCRACKEN, STEMERMAN &
7                                           HOLSBERRY, LLP
8
9                                           By: /s/Paul L. More
10                                             PAUL L. MORE
                                               LUKE DOWLING
11
                                            Attorneys for Intervenor United Food &
12                                          Commercial Workers Local 324
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1                                CERTIFICATE OF SERVICE
2          I am employed in the city and county of San Francisco, State of California. I

3    am over the age of eighteen years and not a party to the within action; my business
4    address is: 595 Market Street, Suite 800, San Francisco, California 94105.
5          On February 17th, 2021, I served a copy of the foregoing document
6          INTERVENOR UNITED FOOD & COMMERCIAL WORKERS LOCAL
           324’s MOTION TO DISMISS
7
8          INTERVENOR UNITED FOOD & COMMERCIAL WORKERS LOCAL
           324’s MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT
9          OF MOTION TO DISMISS
10
     on the interested party(s) in this action, as follows:
11
     By ECF System - Court’s Notice of Electronic Filing:
12
13     William F Tarantino                             Christopher M Pisano
       Byung-Kwan Park                                 Best Best and Krieger LLP
14     Robert Santos Sandoval                          300 South Grand Avenue 25th Floor
15     Morrison and Foerster LLP                       Los Angeles, CA 90071
       425 Market Street                               213-617-8100
16
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17     415-268-7000                                    Email: christopher.pisano@bbklaw.com
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       Email: tmurata@mofo.com
26
27     Attorneys for California Grocers
28     Association


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                                     CERTICIATE OF SERVICE
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1          I declare under penalty of perjury under the laws of the State of California that
2    the foregoing is true and correct.
3          Executed on this 17th Day of February, 2021, at San Francisco, California.
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                                          ______________________
7                                            Katherine Maddux
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                                    CERTICIATE OF SERVICE
                                   Case No. 21-cv-00524-ODW-AS
